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October 10, 2018

The Honorable Jesse M. Furman
United States District Court for the Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Centre Street, Room 2202
New York, NY 10007

       RE:     Plaintiffs’ Status Report in State of New York, et al. v. U.S. Dep’t of Commerce, et
               al., 18-CV-2921 (JMF).

Dear Judge Furman,

        Pursuant to Paragraph 1(A) of the Court’s Individual Rules and Practices, Plaintiffs write
to advise the Court of developments since the administrative stay was issued by Justice Ginsburg
on October 9, and not otherwise mentioned in Defendants’ October 10 notice to this Court.
(Docket No. 374.)

         First, Defendants have taken the position that the administrative stay applies unilaterally
to stay Plaintiffs’ discovery, but not Defendants’ discovery. See Ex. 1. In particular, Defendants
have taken the position that Justice Ginsburg’s stay order does not affect Defendants’ ability to
continue taking depositions scheduled for this week of Plaintiffs’ expert or fact witnesses. Id.
Accordingly, Defendants deposed Plaintiffs’ expert John Thompson, the former Census Director,
earlier today; will depose Dr. Matthew Barreto tomorrow; and will depose Dr. Hermann
Habermann on Friday. Defendants also intend to take fact depositions of the individual members
of the NYIC Plaintiff organizations this week. Defendants have not yet confirmed that they will
make Dr. John Abowd – Defendants’ rebuttal expert – available on his scheduled deposition date
of October 12, notwithstanding Defendants’ view that discovery related to Plaintiffs’ standing is
unaffected by the stay. See Ex. 2.

        Second, Defendants have advised the parties of their view that the administrative stay
applies to separate litigation in other jurisdictions for which Defendants never sought or
requested a stay. See Ex. 1. Plaintiffs in the Maryland and California lawsuits challenging the
citizenship question – as well as the New York Plaintiffs – noticed the depositions of several fact
witnesses to be deposed on October 10 and 11. In addition to the depositions of Secretary Ross
and Mr. Gore, two other Commerce Department fact witnesses were scheduled to be deposed
this week: David Langdon (scheduled for today, October 10) and Sahra Park-Su (October 11).
Yesterday evening, after the administrative stay was issued by Justice Ginsburg, counsel for the
plaintiffs in the Maryland and California cases asked Defendants to confirm that the Langdon
and Park-Su depositions would proceed because Defendants have never sought a stay of
discovery in those cases. Defendants responded that in light of Justice Ginsburg’s stay, they
would not make those fact witnesses available for their scheduled depositions in those cases
either. Ex. 1. Mr. Langdon’s deposition therefore did not proceed today, and Ms. Park-Su’s
deposition will not proceed tomorrow unless the stay is lifted. Plaintiffs intend to depose these
witnesses on the earliest possible date once authorized to conclude discovery.
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        With respect to Defendants’ request that the Court schedule a conference to set future
proceedings, Plaintiffs’ position is that no adjustments to the pretrial and trial calendar are
necessary or warranted at this point. In light of the Court’s prior orders, Plaintiffs are proceeding
on the expectation that all deadlines scheduled by this Court are intact. (Docket No. 363, Docket
No. 362, Docket No. 323, Docket No. 199.) Defendants have offered to make their four
remaining fact deponents available “promptly” if those depositions are authorized following
Supreme Court review, “including after the scheduled close of discovery,” Ex. 1. In the interest
of concluding discovery as soon as the administrative stay is lifted, Plaintiffs have asked
Defendants to provide conditional dates for the depositions of Secretary Ross and Mr. Gore, see
Ex. 2, and if necessary will seek leave of Court to conduct those depositions after October 12.

       Finally, there were several remaining disputes regarding the adequacy of Defendants’
document productions and privilege assertions that were open when Justice Ginsburg’s
administrative stay was issued. Plaintiffs wish to advise the Court that if the parties do not
resolve those disagreements, Plaintiffs intend to seek expedited relief from this Court as soon as
the administrative stay is lifted.

                                      Respectfully submitted,

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